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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

STATE OF FLORIDA,

      Plaintiff,

      v.                                Case No. 8:21-cv-839

XAVIER BECERRA, Secretary of
Health and Human Services, in his
official capacity; HEALTH AND
HUMAN SERVICES; ROCHELLE
WALENSKY, Director of the
Centers for Disease Control and
Prevention, in her official capacity;
CENTERS FOR DISEASE
CONTROL AND PREVENTION;
The UNITED STATES OF
AMERICA,

      Defendants.
_________________________________/

            COMPLAINT FOR DECLARATORY AND
      PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF
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                                      INTRODUCTION

         1.      The COVID-19 pandemic caused massive disruption and harm

across the world. As of April 7, 2021, there have been 30,596,830 reported cases

and 554,420 deaths in the United States.1

         2.      Those numbers, which are staggering and sobering, do not portray

the full picture. The pandemic started with great uncertainty and caused great

fear. But with resolve, purpose, and ingenuity, we have developed multiple

vaccines, therapeutics, and treatments that have reduced the mortality at

unparalleled speed.

         3.      As of April 6, 2021, 32.6% of the U.S. population has received at

least one vaccine dose, while 19% is fully vaccinated. 2 Importantly, 75.9% of

those 65-and-older have received at least one dose, 3 as states like Florida have

prioritized the vaccination of vulnerable groups like seniors.

         4.      The country is returning to normal. Florida is leading the way and

has remained more open than many other large states. Industries have

adapted to COVID-19 in Florida and are adapting elsewhere. They have found

ways to do business safely, and before long, most Americans will be vaccinated.




1   https://covid.cdc.gov/covid-data-tracker/#datatracker-home.
2   https://covid.cdc.gov/covid-data-tracker/#vaccinations.
3   https://covid.cdc.gov/covid-data-tracker/#vaccinations.

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         5.     On April 6, 2021, President Biden announced that all adults will

be eligible to receive a vaccine by April 19, and he has set as a goal beginning

to return to normal by the July 4th holiday. 4 Florida is ahead of President

Biden’s goal, both with reopening and with vaccinations. As of April 5, all

adults in Florida are eligible for a vaccine.

         6.     Despite the virus, and those who would lock down society

indefinitely, people are traveling again. They are doing so safely with

protective measures like vaccines, sanitation, and social distancing. On April

5, for example, 1,561,959 individuals traveled on airplane flights in the United

States—almost fifteen times the number who were flying on the same day a

year earlier.5 It is not just air travel. Hotels, theme parks, restaurants, and

many other industries are safely reopening.

         7.     But as these industries begin to restart and rebuild, the cruise

industry has been singled out, and unlike the rest of America, prevented from

reopening. Despite the demonstrated success of reasonable COVID-19 safety

protocols in Europe and Asia, the cruise industry in the United States has been

subject to a nationwide lockdown since March 2020. As a result, the industry

is on the brink of financial ruin.



4      https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/03/11/remarks-by-
president-biden-on-the-anniversary-of-the-covid-19-shutdown/.
5   https://www.tsa.gov/coronavirus/passenger-throughput.

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        8.    In October 2020, the Centers for Disease Control and Prevention

(“CDC”) expressly found that continuing this nationwide lockdown was

unjustifiable. But since that time, notwithstanding its public decision to allow

the cruise industry to reopen, the CDC has functionally continued the

lockdown. And it now appears the CDC will continue that lockdown until

November 2021, even though vaccines are now available to all adults who want

them.

        9.    The CDC does not have the authority to issue year-and-a-half-long

nationwide lockdowns of entire industries. And even if it did, its actions here

are arbitrary and capricious and otherwise violate the Administrative

Procedure Act (“APA”).

        10.   Florida asks this Court to set aside the CDC’s unlawful actions and

hold that cruises should be allowed to operate with reasonable safety protocols.

        11.   Absent this Court’s intervention, Florida will lose hundreds of

millions of dollars, if not billions. And, more importantly, the approximately

159,000 hard-working Floridians whose livelihoods depend on the cruise

industry could lose everything.

                                       PARTIES

        12.   Plaintiff State of Florida is a sovereign State and has the authority

and responsibility to protect the wellbeing of its public fisc and the health,

safety, and welfare of its citizens.

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      13.    Defendants are the United States, appointed officials of the United

States government, and United States governmental agencies responsible for

the issuance and implementation of the challenged administrative actions.

      14.    Florida sues Defendant the United States of America under

5 U.S.C. §§ 702–03 and 28 U.S.C. § 1346.

      15.    Defendant CDC issued and is implementing the October 30, 2020

Order, establishing its Framework for Conditional Sailing and Initial Phase

COVID-19 Testing Requirements for Protection of Crew (the “Conditional

Sailing Order”). See Ex. 1. The CDC is a component of Defendant the

Department of Health & Human Services (“HHS”).

      16.    Defendant Rochelle Walensky is the Director of the CDC. She is

sued in her official capacity.

      17.    Defendant Xavier Becerra is the Secretary of HHS. He is sued in

his official capacity.

                         JURISDICTION AND VENUE

      18.    The    Court   has   subject   matter   jurisdiction   pursuant   to

28 U.S.C. §§ 1331, 1346, and 1361 and 5 U.S.C. §§ 702–03.

      19.    The Court is authorized to award the requested declaratory and

injunctive relief under 5 U.S.C. § 706, 28 U.S.C. § 1361, and 28 U.S.C. §§ 2201–

02.




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         20.     Venue lies in this district pursuant to 28 U.S.C. § 1391(e)(1)

because the State of Florida is a resident of this judicial district. Venue lies in

this district under that provision for the independent reason that a substantial

part of the events or omissions giving rise to the claim occurred in this judicial

district—Tampa Bay is a major cruise port.

                               FACTUAL BACKGROUND

                                  Florida’s Cruise Industry

         21.     The cruise industry is an essential part of Florida’s economy. In

2019, the industry’s direct expenditures in Florida generated “nearly 159,000

total jobs paying $8.1 billion in income.” 6

         22.     Of all cruise embarkations in the United States, approximately

60% embark from Florida.7 In 2019, approximately 11 million cruise

passengers and crew members came ashore in Florida. These visitors spend

money in Florida’s local economies, and many Florida businesses depend on

them.

                                  The COVID-19 Pandemic

         23.     Beginning in early 2020, the COVID-19 pandemic devastated the

cruise industry, like it did many industries. Outbreaks aboard cruise ships



6   https://cruising.org/-/media/research-updates/research/2019-usa-cruise-eis.ashx, at 11, 43.
7https://cruising.org/-/media/research-updates/research/2019-usa-cruise-eis.ashx, at 6, 9, 15,
42.

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were a significant concern, and experts, public officials, and medical personnel

had a limited understanding of the virus, how to treat it, and how to prevent

its transmission.

         24.    In March 2020, many cruise ships in the U.S. voluntarily ceased

operations. Around that same time, on March 14, 2020, the CDC began issuing

nationwide lockdown orders applicable to the cruise industry, just as many

states issued lockdown orders against their citizens. See Ex. 2.

         25.    The CDC renewed its March 14 Order on April 9, July 16, and

September 30. See Ex. 3; Ex. 4; Ex. 5.

         26.    The cruise industry has been “ravaged,” with “companies

reporting billions of dollars in losses, causing some of them to downsize their

fleets and sell ships for scrap.”8

                       The October 30 Conditional Sailing Order

         27.    On October 30, 2020, the CDC offered the cruise industry a

glimmer of hope. Just as airlines, bus lines, hotels, restaurants, universities,

theme parks, casinos, bars, and countless other industries have learned

lessons during the pandemic and figured out how to operate safety—usually

with precautions and reduced capacity—the CDC indicated that the cruise

industry could do the same.



8   https://www.nytimes.com/2021/03/19/travel/coronavirus-cruises.html.

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         28.    In its Conditional Sailing Order, the CDC purported to lift its

lockdown order. It found that the “benefits of” opening “outweigh the costs of

not allowing cruise ships to sail” so long as “cruise ships have taken the

necessary precautions to mitigate risk.” Ex. 1 at 16. But, as explained below,

the Order has been “nothing more than an extension of a cruise ban wrapped

as a present.”9

         29.     The Order begins by incorporating the findings of the earlier

lockdown orders, and it expressly relies on what occurred on cruise ships at the

beginning of the pandemic when the entire world was struggling to control the

spread of COVID-19. Ex. 1 at 8, 12. It also expressly bases its conclusions on

the lack of an available “FDA . . . authorized vaccine.” Id. at 8.

         30.    The Order then praises the cruise industry for taking “steps to

improve their public health response to COVID-19.” Id. at 13.

         31.    Next, the Order discusses the CDC’s “Request for Information,”

which appears to be the CDC’s attempt to solicit feedback from the public

without formally committing to notice and comment. Id. at 14.

         32.    The Order then discusses the alternatives it considered. It appears

to have considered only two: (1) outright free rein for cruise ships with no




9   https://www.cruisehive.com/signs-that-cruises-could-start-in-june-from-the-u-s/47910 .

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oversight and no COVID-19 safety protocols whatsoever, and (2) continuing its

lockdowns. Id. at 15–16.

     33.   After discussing these alternatives, the Order explains its “plan”

for reopening. This involves four phases: (1) “establishment of laboratory

testing of crew onboard cruise ships in U.S. waters,” (2) “simulated voyages

designed to test a cruise ship operator’s ability to mitigate COVID-19 on

cruise ships,” (3) “a certification process,” and (4) “a return to passenger

voyages in a manner that mitigates the risk of COVID-19.” Id. at 16–17.

     34.   Unlike the previous orders, which were of limited time duration

and had to be renewed, the Conditional Sailing Order is effective for a year,

until November 1, 2021. Id. at 41. In other words, unless cruise ship

companies can complete the four-phase process, they will be shut down until

November 1, 2021.

     35.   Much has changed since October 30, 2020.

     36.   First, multiple FDA-approved vaccines are now available, and

most of the U.S. population will likely be vaccinated by summer. See ¶¶ 3,

5. Moreover, the effectiveness of the FDA-approved COVID-19 vaccines

dwarfs the effectiveness of, for example, the average influenza vaccine. This




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explains why, on March 8, 2021, the CDC released a statement that fully

vaccinated people could, in its view, begin resuming certain activities. 10

         37.     Second, the cruise industry is “stirring to life” abroad. 11 European

and Asian cruises, for example, are reopening with “resounding success.” 12

Indeed, “[t]here have already been some success stories out of Europe where

cruise lines have shown that they’ve got great protocols in place, that they are

committed to adhering to them, that they can keep passengers in a bubble and

that they can do effective testing.”13

         38.     Third, other industries—such as airlines, bus lines, hotels,

restaurants, universities, theme parks, casinos, and bars—have continued to

reopen successfully with reasonable COVID-19 protocols.

         39.     As all of these changes were rendering the burdensome four-phase

reopening process obsolete, the CDC made little progress. Over five months in,

no cruise company has begun phase-two test voyages.

         40.     At a March 18, 2021 Senate hearing, Senator Lisa Murkowski of

Alaska asked Defendant CDC Director Walensky to “give . . . some indicator in




10   https://www.cdc.gov/media/releases/2021/p0308-vaccinated-guidelines.html.
11   https://www.nytimes.com/2021/03/19/travel/coronavirus-cruises.html .
12   https://www.cruisehive.com/signs-that-cruises-could-start-in-june-from-the-u-s/47910 .
13   https://www.nytimes.com/2021/03/19/travel/coronavirus-cruises.html .

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terms of a timeline” for phase two. Ex. 6 at 7. Defendant Walensky responded,

“I can’t.” Id.

         41.     At this rate, it is likely the industry will be locked down until at

least November. While the CDC issued new guidance on April 2, 2021, this

guidance is only a portion of what the industry needs before it can start phase-

two test voyages.14 And this new guidance doesn’t adequately account for the

CDC’s recent statement that “fully vaccinated people can travel at low risk to

themselves.”15 Moreover, the guidance moves the goal posts yet again. For

example, the CDC has increased the reporting frequency of COVID-19-like

illnesses by cruise ship operators from weekly to daily. It also now requires

cruise ship operators to enter into agreements with all U.S. port and local

health authorities where they intend to dock.

         42.     The CDC has continued these actions against the cruise industry

even as it has treated similar industries differently, including ones that hold

passengers in close quarters. For example, the CDC has not shut down the

airline        industry—focusing      instead      on   “cleaning     of    aircraft”   and

“recommendations for hand hygiene.” 16



14     https://www.cdc.gov/quarantine/cruise/management/technical-instructions-for-cruise-
ships.html; https://www.cdc.gov/quarantine/cruise/instructions-local-agreements.html.

15   https://www.cdc.gov/media/releases/2021/p0402-travel-guidance-vaccinated-people.html.

16   https://www.cdc.gov/quarantine/air/managing-sick-travelers/ncov-airlines.html.

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                         Florida’s Irreparable Harm

      43.   As a result of Defendants’ actions, Florida has suffered hundreds

of millions of dollars in harm, perhaps more. During the pandemic, Florida’s

ports have suffered a decline in operating revenue of almost $300 million,

and this figure is projected to increase to nearly $420 million by July 2021.

      44.   In 2019, before Defendants shut down the cruise industry, Florida

received approximately $102.8 million in tax revenue from embarkations.

      45.   And even the above numbers do not fully account for the

economic impact on Florida of Defendants’ actions. For example, since

March 1, 2020, at least 6,464 former cruise industry employees have filed

for state Reemployment Assistance benefits. Florida has paid them

approximately $20 million in state benefits. And Florida receives other taxes

as a direct or indirect result of the cruise industry, such as employment

taxes and ground transportation taxes.

      46.   Finally, if the U.S. cruise industry does not reopen soon, cruise

lines are considering relocating abroad. They may never come back.

      47.   Florida now seeks relief from this Court to prevent the

irreparable harm Defendants’ actions are causing.




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                                         CLAIMS

                                        COUNT 1

                          Agency action not in accordance
                         with law and in excess of authority

                                (Violation of the APA)

       48.     Florida repeats and incorporates by reference ¶¶ 1–47.

       49.     Under the APA, a court must “hold unlawful and set aside agency

action”      that   is   “not   in   accordance      with    law”    or    “in   excess    of

statutory . . . authority, or limitations, or short of statutory right.” See 5 U.S.C.

§ 706(2)(A), (C).

       50.     The Conditional Sailing Order purports to derive its statutory and

regulatory authority from 42 U.S.C. § 264 and 42 C.F.R. § 70.2 (the regulation

implementing Section 264).17 Ex. 1 at 2, 20.

       51.     The Order is in excess of that authority in several ways.

       52.     First, neither 42 U.S.C. § 264 nor 42 C.F.R. § 70.2 authorizes the

CDC to make or enforce regulations that suspend the operation of cruise ships,

much less every cruise ship in the country. Such a reading of those provisions

would be “tantamount to creating a general federal police power.” Skyworks,

Ltd. v. CDC, 2021 WL 911720, at *10 (N.D. Ohio 2021).


17Any other authorities the CDC has relied on are related to these two authorities, and fail
to justify the CDC’s actions for the same reasons discussed below. See, e.g., 42 U.S.C. § 268;
42 C.F.R. § 71.31(b).

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      53.   Second, Sections 264 and 70.2 permit the CDC to act only if it first

“determines that the measures taken by” a state “are insufficient to prevent

the spread” of a communicable disease “from such State . . . to any other State.”

42 C.F.R. § 70.2. But here, the CDC has made no valid determination that the

measures taken by Florida to protect the health and safety of its residents and

tourists are insufficient. And any such determination would have to first take

into account that people are now traveling with protective measures like

vaccines, sanitation, and social distancing, and that the cruise industry has

safely and successfully resumed sailing outside of U.S. waters.

      54.   Third, the CDC’s reading of its authority under 42 U.S.C. § 264 is

wrong because it is divorced from context. The statute gives the CDC the

authority to “make and enforce such regulations as in [its] judgment are

necessary to   prevent    the   introduction,   transmission,    or   spread    of

communicable diseases from foreign countries into the States or possessions,

or from one State or possession into any other State or possession.” 42 U.S.C.

§ 264(a). But in the next sentence, the statute clarifies that to “carry[] out and

enforc[e]” those regulations, it authorizes the CDC to conduct “such inspection,

fumigation, disinfection, sanitation, pest extermination, destruction of animals

or articles found to be so infected or contaminated as to be sources of dangerous

infection to human beings, and other measures, as in [CDC’s] judgment may

be necessary.” Id. This second sentence clarifies the narrow nature of this

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authority. See, e.g., Paroline v. United States, 572 U.S. 434, 447 (2014)

(discussing catch-all terms that “bring[] within a statute categories similar in

type to those specifically enumerated”); Antonin Scalia & Bryan Garner,

Reading Law: The Interpretation of Legal Texts 199 (2012) (“Where general

words follow an enumeration of two or more things, they apply only to persons

or things of the same general kind or class specifically mentioned (ejusdem

generis).”); K Mart Corp. v. Cartier, Inc., 486 U.S. 281, 291 (1988) (“In

ascertaining the plain meaning of [a] statute, the court must look to the

particular statutory language at issue, as well as the language and design of

the statute as a whole.”). In other words, the “second sentence . . . lists

illustrative examples of the types of actions the CDC may take,” and those

examples limit the scope of the CDC’s authority. Skyworks, 2021 WL 911720,

at *9 (so holding); accord Tiger Lily, LLC v. Dep’t of Hous. & Urb. Dev., 2021

WL 1165170 (6th Cir. 2021) (“Plainly, government intrusion on property to

sanitize and dispose of infected matter is different in nature from a moratorium

on evictions.”).

                                  COUNT 2

                   Arbitrary and capricious agency action

                           (Violation of the APA)

      55.    Florida repeats and incorporates by reference ¶¶ 1–47.




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      56.   Under the APA, a court must “hold unlawful and set aside agency

action” that is “arbitrary [or] capricious,” as Defendants’ actions are here. 5

U.S.C. § 706(2)(A).

      57.   First, Defendants ignored important aspects of the problem. See

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983); see also Michigan v. EPA, 576 U.S. 743, 751–53, 759–60

(2015). The lack of an FDA-approved vaccine in October 2020 was central to

Defendants’ decision to impose a burdensome framework on the cruise

industry, yet Defendants did not consider the fact that vaccines would be

available long before the Order expires in November 2021. And they have made

inadequate efforts to consider the significant developments on that front since.

Moreover, Defendants have made no effort to account for the success of foreign

cruise companies, which operate safely with reasonable COVID-19 protocols.

Instead, Defendants rely on stale information from the beginning of the

pandemic before industries and public-health officials learned how businesses

could operate safely.

      58.   Second, Defendants’ reasoning is inadequate.           See Encino

Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016). “The agency must

examine the relevant data and articulate a satisfactory explanation for its

action including a rational connection between the facts found and the choice

made.” Id. In addition to the issues discussed in the preceding paragraph, the

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Conditional Sailing Order states that it is necessary because “measures taken

by State and local health authorities regarding COVID-19 onboard cruise ships

are inadequate,” but the Order does not identify the measures taken by States

and localities and the cruise industry itself, much less explain how the

measures are inadequate. See Ex. 1 at 19.

      59.   Third, Defendants failed to consider lesser alternatives, see DHS

v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020); FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009), such as imposing reasonable

COVID-19 protocols, which have proved successful abroad.

      60.   Fourth, Defendants failed to explain their differential treatment of

the cruise industry versus other industries. It is “textbook administration law

that an agency must provide a reasoned explanation for . . . treating similar

situations differently.” W. Deptford Energy, LLC v. FERC, 766 F.3d 10, 20

(D.C. Cir. 2014) (cleaned up). “[A]n agency must treat similar cases in a similar

manner unless it can provide a legitimate reason for failing to do so.” Kreis v.

Sec’y of Air Force, 406 F.3d 684, 687 (D.C. Cir. 2005).

      61.   Fifth, Defendants have acted in an arbitrary and capricious

manner by failing to meaningfully follow their own Conditional Sailing

Order. The Order provides that cruise lines will have an opportunity to

complete a four-phase framework and “return to passenger operations,” see

Ex. 1 at 16–17, but the CDC has neither provided cruise lines an opportunity

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to complete the framework nor allowed any cruise line to return to passenger

operations, notwithstanding that the “benefits of” opening “outweigh the costs

of not allowing cruise ships to sail,” Ex. 1 at 16.

                                    COUNT 3

    Agency Action Unlawfully Withheld or Unreasonably Delayed

                            (Violation of the APA)

      62.   Florida repeats and incorporates by reference ¶¶ 1–47, 57–61.

      63.   In the alternative, and for the same reasons stated in Count 2,

Defendants’ failure to allow the cruise industry to safely reopen constitutes

final agency action unlawfully withheld or unreasonably delayed, in

violation of 5 U.S.C. § 706.

                                    COUNT 4

                 Failure to Provide Notice and Comment

                            (Violation of the APA)

      64.   Florida repeats and incorporates by reference ¶¶ 1–47.

      65.   The APA required Defendants to provide notice of, and receive

comment on, the Conditional Sailing Order because it is a substantive rule that

“affect[s] individual rights and obligations.” Chrysler Corp. v. Brown, 441 U.S.

281, 303 (1979); see 5 U.S.C. § 553.

      66.   Defendants, however, failed to conduct proper notice and comment

rulemaking. As a perennial excuse, Defendants seem to rely on the “good

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cause” exception to the notice requirement, see 5 U.S.C. § 553(b)(B), and lean

heavily on the year-old “emergency” of COVID-19. See, e.g., Ex. 1 at 19, 20. But

that   exception   “is   to   be   narrowly   construed   and   only   reluctantly

countenanced.” Mack Trucks, Inc. v. EPA, 682 F.3d 87, 93 (D.C. Cir. 2012).

       67.   Good cause to depart from notice and comment does not exist when

the agency has sufficient time to provide notice and comment. See Kollett v.

Harris, 619 F.2d 134, 145 (1st Cir. 1980); Regeneron Pharm., Inc. v. Dep’t of

Health & Hum. Servs., 2020 WL 7778037, at *11 (S.D.N.Y. Dec. 30, 2020)

(noting that an agency’s contemplation of rulemaking for two years “suggests

that the agency could have acted sooner and complied with the notice and

comment requirements”). So even if the good cause exception were applicable

in March 2020, it no longer applies in April 2021.

       68.   Moreover, even if an emergency could still be said to exist one year

later such that it justifies “good cause,” this exception to notice and comment

is supposed to be temporary. See Am. Fed’n of Gov’t Emp., AFL-CIO v. Block,

655 F.2d 1153, 1158 (D.C. Cir. 1981).

       69.   And although the CDC solicited information from the public, the

CDC did not respond or even attempt to address in any meaningful way the

comments provided to it. Ex. 1 at 14–15. This suggests the CDC did not view

that process as satisfying the notice and comment requirements, and even if it

did, its failure to respond is fatal. See Perez v. Mortg. Bankers Ass’n, 575 U.S.

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92, 96 (2015) (explaining that “[a]n agency must consider and respond to

significant comments received during the period for public comment”).

                                     COUNT 5

              Unconstitutional Exercise of Legislative Power

                      (Violation of U.S. Const. Art. I, § 1)

      70.     Florida repeats and incorporates by reference ¶¶ 1–47.

      71.     Article I, Section 1 of the U.S. Constitution states, “[a]ll legislative

powers herein granted shall be vested in a Congress of the United States.”

Under Article I, Section 1, only Congress may engage in lawmaking.

      72.     If the Conditional Sailing Order does not exceed the authority

under 42 U.S.C. § 264 and the relevant regulations, then Section 264

constitutes an unconstitutional exercise of lawmaking by the executive branch,

affording the CDC the power to determine the rights of millions of citizens, to

decide on the survival of countless businesses, and to make a host of sweeping

policy decisions absent meaningful accountability.

                             PRAYER FOR RELIEF

      For these reasons, Florida asks the Court to:

      a) Hold unlawful and set aside the Conditional Sailing Order.

      b) Issue preliminary and permanent injunctive relief enjoining

            Defendants from enforcing the Conditional Sailing Order.

      c) Postpone the effective date of the Conditional Sailing Order.

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      d) Declare unlawful the Conditional Sailing Order.

      e) Declare that the cruise industry may open with reasonable safety

         protocols.

      f) Award Florida costs and reasonable attorney’s fees.

      g) Award such other relief as the Court deems equitable and just.


                                   Respectfully submitted,

                                   Ashley Moody
                                   ATTORNEY GENERAL

                                   John Guard (FBN 374600)
                                   CHIEF DEPUTY ATTORNEY GENERAL

                                   /s/ James H. Percival
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